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JOHN T. CRUNK, et. al.,
Plaintiffs,
v.

No. 04-2573 Ml/V

BDo sEIDMAN, L.L.P, et. al.,

vVvVM-rv\¢~_r~n_¢

Defendants.

 

ORDER GRANTING DEFENDANTS’ MOTION TO STAY PROCEEDINGS

 

Before the Court is the Motion to Stay the Proceedings of
Defendants Deutsche Bank AG, Deutsche Bank Securities Inc., David
Parse and Craig Brubaker, filed October 8, 2004. Plaintiffs
responded in opposition on October 26, 2004. Defendants filed a
reply on November 4, 2004. Plaintiffs filed supplemental
memoranda in support of their opposition to Defendants’ motion on
January 5 and January 12, 2005. In addition to their memoranda,
the parties have filed several advisory letters and briefs
regarding orders of other Courts deciding similar issues.1 For
the following reasons,r Defendants' motion to stay this case is

GRANTED.
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1 Defendants filed an advisory letter on April 12, 2005, to
which Plaintiff responded with an advisory brief on April 20,
2005. Defendants filed another advisory letter on April 26,
2005. Plaintiffs filed another advisory brief on May 2, 2005, to

which Defendants responded on May 20, 2005.

 

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I. BACKGROUND

The instant case is an action brought by two groups of
investors who pursued investments under the advice of Defendants
and claim to have been misled by the attorneys and accountants
who advised them. Plaintiffs claim that Defendants defrauded
them through the marketing and sale of tax advice, charged
excessive and unconscionable fees, improperly split fees between
lawyers and non-lawyers, and failed to disclose certain
information relevant to potential tax amnesty.

The Account Agreement between Defendants and each Plaintiff
includes an arbitration clause requiring all controversies
between the parties to be arbitrated.2 That clause further
provides that neither party may seek to enforce the agreement to
arbitrate during the pendency of a class action suit,r unless the

party instituting the suit is excluded from the class.3

 

2 That provision reads, in relevant part:

I agree to arbitrate with you any controversies which
may arise, whether or not based on events occurring
prior to the date of this agreement, including any
controversy arising out of or relating to any account
with you, to the construction, performance or breach of
any agreement with you, or to transactions with you or
through you, only before the New York Stock Exchange or
the National Association of Securities Dealers
Regulation, Inc., at my election.

(Defs.’ Mot. to Stay the Proceedings, Exs. l-lO, I l9.)

3 That provision reads, in relevant part:

Neither you nor l waive any right to seek equitable
(continued...)

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Defendants move the Court to stay all proceedings in this
case pending the resolution of Dennev, et al. v. Jenkens &
Gilchrist, et al., No. 03-CV-5460, a putative class action suit
filed August 28, 2003, and currently pending in the Southern
District of New York. Plaintiffs concede that they are members
of the preliminarily certified class in Jenkens and that they
have not opted out. (Pls.' Resp. to Defs.' Mot. to Stay the
Proceedings at 6.)

Defendants contend that a stay is warranted because
Plaintiffs' rights will either be adjudicated by the Jenkens
class action,r or, if that class is not certified or Plaintiffs
choose to opt-out, then through arbitration pursuant to the
parties' Account Agreement. Plaintiffs contend that the pendency
of the Jenkens class action prevents Defendants from moving to
arbitrate and that granting a stay in the instant case will

unduly delay this proceeding and thereby prejudice their rights.

 

(...continued)
relief pending arbitration. No person shall bring a
putative or certified class action to arbitration, nor seek
to enforce any pre-dispute arbitration agreement against any
person who has initiated in court a putative class action;
or who is a member of a putative class who has not opted out
of the class with respect to any claims encompassed by the
putative class action until (l) the class certification is
denied; or (2) the class is decertified; or (3) the customer
is excluded from the class by the court. Such forbearance
to enforce an agreement to arbitrate shall not constitute a
waiver of any rights under this agreement except to the
extent stated herein.

(Defs.' Mot. to Stay the Proceedings, Exs. l-lO, I 19.)

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II. ANALYSIS

“[T]he power to stay proceedings is incidental to the power
inherent in every court to control the disposition of the causes
in its docket with economy of time and effort for itself, for
counsel and for litigants ....” Ohio Envtl. Council v. U.S. Dist.
Court, Southern Dist. of Ohio, Eastern Div.,r 565 F.2d 393, 396
(6th Cir. 1977) (guoting Landis v. North American Co., 299 U.S.
248, 254-55 (l936}). “A district court has discretion to
determine whether a stay is necessary to avoid piecemeal,
duplicative litigation and potentially conflicting results.”
lnt'l Bhd. of Elec. Workers v. AT&T Network Svs., No. 88-3895,
879 F.2d 864, l989 WL 78212 at *8 (6th Cir. July l?, l989)(citing
Colorado River Water Cons. Dist. v. United States, 424 U.S. 800,
81?-20 (l9?6)). “ln exercising this discretion, district courts
are to be accorded wide latitude.” ;d$ (citing Kerotest Mfg. Co.
v. C-O-2 Fire Eguip. Co., 342 U.S. 180, 183-84 (l952); thg
Envt’l Council, 565 F.2d at 396). However, “a court must tread
carefully in granting a stay of proceedings, since a party has a
right to a determination of its rights and liabilities without
undue delay.” Ohio Envtl. Council,r 565 F.2d at 396.

In determining whether a stay is appropriate, “[t]he most
important consideration is the balance of hardships; the moving
party has the burden of proving that it will suffer irreparable

injury if the case moves forward, and that the non-moving party

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will not be injured by a stay.” Int’l Bhd. Of Elec. Workers, 1989
WL T8212 at *8 (citing Landis, 299 U.S. at 255; Ohio Envt’l
Council, 565 F.2d at 396). “The district court must also
consider whether granting the stay will further the interest in
economical use of judicial time and resources.” LQ; (citing
Emerson Elec. Co. v. Black & Decker Mfg. Co., 606 F.2d 234 (Sth
Cir. 1979); Aetna State Bank v. Altheimer, 430 F.2d 750 (Tth Cir.
1970)). “Relevant to this consideration is the question of
whether a separate suit in another jurisdiction involves the same
issues and parties and is likely to consider adequately all
interests before the court considering a stay.” ld;

Having reviewed the record and the parties' submissions, the
Court finds that a stay of this case pending the outcome of the
Jenkens case is appropriate. Based upon the parties' Account
Agreement, Plaintiffs may be required to arbitrate non-class
action claims against Defendants. Defendants would therefore
suffer irreparable harm if Plaintiffs were permitted to avoid
their agreement to arbitrate by filing non”class action claims
while a class action to which they concede they are a party is
pending in another court. Additionally, because Plaintiffs are
concededly members of the Jenkens class and have not chosen to

opt-out, their rights will not be prejudiced by the grant of a

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stay.fl Moreover, granting a stay in this case will further the
interest in the economical use of judicial time and resources,
since the Jenkens suit involves the same issues and parties as
the instant case and is likely to adequately consider the
interests before this Court.

Accordingly, Defendants’ motion to stay this case is GRANTED
and this case is STAYED until further notice from this court.
The Court further sets a telephone conference for Wednesdayc
August 3l, 2005, at 8:45 a.m. to determine the status of Jenkens

CEJS€ .

so oRDERED this @2"1 day of May, 2005.

QMM@

JO P. MCCALLA
U TED STATES DISTRICT JUDGE

 

 

4 Plaintiffs contend that their rights will be jeopardized
if this case is stayed until the Jenkens case is resolved,
because there is no indication as to how long the resolution of
that case may take. However, Plaintiffs are free to opt out of
the putative Jenkens class and have their dispute heard here or
in another forum if they seek a speedier resolution of their
claims. Whether or not opting out of the Jenkens class would
subject their claims to arbitration would be properly decided at
that time.

 

Notice of Distribution

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Honorable J on McCalla
US DISTRICT COURT

